THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: November 7, 2017
                                              Beth E. Hanan
                                              United States Bankruptcy Judge

                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 Court Minutes and Order

CHAPTER:       13
DATE:          November 7, 2017
JUDGE:         Beth E. Hanan
CASE NO.:      17-27896
DEBTOR:        Shirley J. Gates
NATURE OF HEARING:    Objection to Confirmation of the Plan
APPEARANCES:          Paul Strouse, for the debtor
                      Shannon Cummings, for Wilmington Savings Fund Society,
                      FSB
                      Sandra Baner, Staff Attorney for Chapter 13 Trustee
COURTROOM DEPUTY: Betsy Skibicki
LAW CLERK:            Carolyn Schwerman

       The court held an adjourned hearing on Wilmington Savings Fund Society,
FSB’s Objection to Confirmation of the Plan. Based on the statements of the
parties, the court ORDERED the following schedule:

   •   An evidentiary hearing will take place on January 4, 2018 at 1:00 p.m. in
       Room 149 of the U.S. Courthouse in Milwaukee.

   •   Both the debtor, Shirley J. Gates, and her daughter/power of attorney,
       Shurone Goodlaw, shall be prepared to testify at the hearing.
   •   At least three business days before the hearing, the parties should file
       with the court and serve on all participating parties numbered copies of
       their exhibits. The objecting party may use numbers 1-99, the debtor
       100-199, and the trustee 200-299.
   •   Any necessary legal briefing will be ordered after the evidentiary hearing.

       It is so ordered.



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